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                                     FILED24 OCT '1915:20LISDC·IJRP
                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                              3:19-cr- (}(}~t/tfJ-        //VJ
                v.                                    INDICTMENT

SEAN CONAN RONDALL LOGAN,                             21 U.S.C. §§ 841(a)(l), (b)(l)(C)

                Defendant.                            Forfeiture Allegation


                               THE GRAND JURY CHARGES:

                                             COUNT 1
                     (Possession with Intent to Distribute Methamphetamine)
                             (21 U.S.C. §§ 841(a)(l) and 841(b)(l)(C))

       On or about September 28, 2019, in the District of Oregon, defendant SEAN CONAN

RONDALL LOGAN, did unlawfully, knowingly, and intentionally possess a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II controlled

substance;

        In violation of Title 21 , United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                FORFEITURE ALLEGATION

       Upon conviction of the offense in Count 1, defendant shall forfeit to the United States,

pursuant to 21 U. S.C. § 853 , any property constituting, or derived from, proceeds obtained,




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    directly or indirectly, as a result of the aforesaid violations and any property used, or intended to

    be used, in any manner or part, to commit, or to facilitate the commission of said violations

    Dated: October ~       ' 2019 A TRUE BILL.




                                                          OFFICIATING FOREPERSON

    Presented by:

    BILLY J. WILLIAMS
    United States Attorney



    CRAIG J. GABRIEL, OSB #
    Assistant United States Atto ey




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